    Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 1 of 9 PageID #:249



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

AMBER L. TRIPP,                             )
                                            )
              PLAINTIFF,                    )
                                            )       Civil Action No. 18-cv-1365
              v.                            )
                                            )       Hon. Thomas M. Durkin
                                            )
PAN AM COLLECTIONS, INC.                    )       Magistrate Daniel G. Martin
DANIEL L. KOHLENBERG                        )
                                            )
               DEFENDANT(S).                )

                                  Joint Initial Status Report

       Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on April 19, 2017 via electronic

mail, on April 27, 2018 and April 30, 2018 via teleconference and was attended by Robert J.

Tomei Jr., of Tomei Law, P.C., Attorneys for Plaintiff, and Charles G. McCarthy, Jr., of Charles

G. McCarthy Jr. and Associates, Attorney for Defendants.

   I. The Nature of the Case

              A. Attorneys of Record

              Plaintiff

              Robert J. Tomei Jr.,
              TOMEI LAW, P.C.
              223 N IL Rt. 21, Suite 14
              Gurnee, IL 60031
              Tele: (847) 596-7494
              Fax: (847) 589-2263
              E-Mail: Robert@tomeilawfirm.com

              Defendant
              Charles G. McCarthy, Jr.
              Charles G. McCarthy, Jr. and Associates
              707 North East Street,
              Suite Two
              Bloomington, IL 61701


                                                1
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 2 of 9 PageID #:250



        Telephone: 309-828-7000
        E-Mail: charlie@mccarthy.net

        B. Jurisdiction

               i. Plaintiff has alleged that this Court has jurisdiction pursuant to § 1692k(d)

                  of the FDCPA, and 28 U.S.C. § 1331.

           ii. No jurisdiction over any claims is based on diversity or supplemental

                  jurisdiction.

           iii. According to Plaintiff, Amber L. Tripp, is a citizen and resident of Illinois.

                  According to Plaintiff, she resides in the Northern District of Illinois.

           iv. Defendant, Pan Am Collections, Inc., is incorporated under the laws of the

                  State of Illinois and maintains offices at 707 N East Street, #1,

                  Bloomington, IL 61702-5528. Its registered agent is co-defendant Daniel

                  L. Kohlenberg, whose registered address is 1208 E. Washington Street,

                  Bloomington, IL 61701.

           v. Defendant, Daniel L. Kohlenberg, is an individual resident of the State of

                  Illinois, County of McLean. Kohlenberg acts as the officer, manager

                  and/or agent of co-defendant Pan Am.

          vi.     Plaintiff has asserted claims based on state law in her First Amended

                  Complaint, but seeks to drop those counts at this time by way of a Motion

                  for Leave to File her Second Amended Complaint.

        C. Claims Asserted In Complaint

          i.      Plaintiff has alleged that Defendant Pan Am and Kohlenberg (hereinafter

                  “Defendants”) collectively violated §§ 1692g(a), 1692c(b), 1692e,



                                             2
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 3 of 9 PageID #:251



               1692(e)(11), §1692(c)(b), 1692(c)(a)(2), §1692(b)(6), §1692f and

               1692f(1) of the FDCPA.

                      Specifically, Plaintiff has alleged that Defendants failed to

               effectively state “the name of the creditor to whom the debt is owed” in

               violation of 15 U.S.C. § 1692g(a)(2) in addition to failing to set forth in

               writing Plaintiff’s notice regarding her rights pursuant to §1692g(a) within

               five days after initial communication with the Plaintiff.

                      Plaintiff has also alleged that Defendants violated §1692c(a)(2)

               when, through one of its employees or authorized agents, it contacted the

               Plaintiff directly, even though Defendants had actual knowledge that

               Plaintiff was represented by an attorney.

                      Plaintiff claims that Defendants violated §§1692c(b) and

               1692(b)(6) when, through one of its employees or authorized agents, it

               contacted an unauthorized third party in an attempt to collect the purported

               debt when it knew or should have known Plaintiff was represented by the

               undersigned.

                      Plaintiff alleges that Defendants violated 15 U.S.C. § 1692e and

               1692e(11) when it failed to disclose in every communication with Plaintiff

               that it was from a debt collector. Plaintiff maintains that this constitutes a

               concrete informational injury under the FDCPA because it fails to provide

               accurate information that Plaintiff was entitled to under the FDCPA.




                                          3
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 4 of 9 PageID #:252



                         Plaintiff further alleges that Defendants violated §1692f and

                 1692(f)(1) for contacting her directly when it had actual knowledge she

                 was represented by counsel.

                         Defendants Pan Am and Kohlenberg collectively denies all of the

                 above allegations and that the FDCPA was violated in any way.

          ii.    Plaintiff is seeking:

                 1.      A finding that Defendant’s collection practices violated the

                         FDCPA,

                 2.      Statutory damages, in the amount of $1,000.00, actual damages to

                         be determined by a trier of fact, costs, and reasonable attorney fees

                         as provided by 15 U.S.C. §1692k(a) of the FDCPA.

         iii.    No counter-claims are currently being asserted.

II. Pending Motion & Case Plan

      A. Presently, the only motion pending before the Court is Plaintiff’s Motion for

          Leave to file her Second Amended Complaint, which is scheduled for

          presentment on May 3, 2018 at 9:00 a.m. Additionally, the initial status hearing is

          set for Thursday, May 3, 2018 at 9:00 a.m.

      B. To date, no formal discovery has taken place in this matter and no deadlines have

          yet to elapse. The parties confirm that they have reviewed the Standing Order for

          the Mandatory Initial Discovery Pilot Project (MID). The Plaintiff and Defendant

          have until on or before May 2, 2018 in which to serve their respective MIDP

          answers to one another. The parties are not presently disputing any discovery

          limitations or other discovery issues.




                                            4
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 5 of 9 PageID #:253



     C. Proposal for Discovery:

            1. The Discovery needed will be Requests for Production, Requests to

               Admit, Interrogatories and 2-3 Depositions;

            2. Written Discovery to be issued by June 4, 2018;

            3. The parties do not anticipate the need to engage in expert discovery at this

               time as it would pertain to dispositive liability motions.

            4. All fact discovery to be completed by September 28, 2018.

            5. The parties agree to defer scheduling of expert discovery relevant to

               damages until it becomes necessary for a hearing or trial.

            6. The parties note the Court’s reluctance to disturb an agreed case

               management order once it is entered.

            7. All dispositive motions to be filed no later than October 28, 2018.

     D. E-Discovery

            1. The parties anticipate that discovery will encompass electronically stored

               information. Disclosure or discovery of electronically stored information

               should be handled as follows:

               a.      Nature of Production of ESI. Electronic discovery shall be

                       produced to the requesting party in a commercially reasonable

                       manner. If a party requests documents that are stored in an

                       electronic format, the disclosing party may provide the requesting

                       party printed copies of the documents or may provide the

                       requesting party copies of the documents on CD or DVD, by

                       email, or by other electronic means. If the receiving party




                                         5
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 6 of 9 PageID #:254



                     determines in good faith that a disclosure of a document in a

                     printed format does not adequately allow the party to review the

                     document, the receiving party may request that an electronic copy

                     may be provided to it. If a requesting party requests the

                     examination of any hard drives, servers, computers, voice mail

                     systems, or other electronic devices or components, such

                     disclosure, if appropriate, shall be made in a commercially

                     reasonable manner.

               b.    Cost and Burden of Producing Electronic Discovery. Unless the

                     party with the burden of bearing the costs as specified below

                     demonstrates to the Court that the cost is overly burdensome, or

                     that the cost should be paid in whole or in part by the requesting

                     party, the following presumptions apply: (1) To the extent that the

                     parties request files or copies of documents, the parties agree that

                     such requests shall be provided to the other party in the normal and

                     traditional course of discovery, with the producing party bearing

                     the cost of assembling the responses to the requests; (2) To the

                     extent that a party requests to examine a hard drive, server,

                     computer, voice mail system, or other electronic device or

                     component, the party making the request shall bear the cost of the

                     examination and may examine the device or component at a

                     mutually agreeable time and in a commercially reasonable manner.




                                       6
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 7 of 9 PageID #:255



               c.    Inadvertent Disclosure of Privileged Documents. In the event that a

                     document protected by the attorney-client privilege, the attorney

                     work product doctrine or other applicable privilege or protection is

                     unintentionally produced by any party to this proceeding, the

                     producing party may request that the document be returned. In the

                     event that such a request is made, all parties to the litigation and

                     their counsel shall promptly return all copies of the document in

                     their possession, custody, or control to the producing party and

                     shall not retain or make any copies of the document or any

                     documents derived from such document. If, however, the

                     disclosed documents contains the work product of the non-

                     producing party then upon written request by the producing party,

                     said documents may be destroyed rather than returned at the

                     election of the non-producing party. The producing party shall

                     promptly identify the returned or destroyed document on a

                     privilege log. The unintentional disclosure of a privileged or

                     otherwise protected document shall not constitute a waiver of the

                     privilege or protection with respect to that document or any other

                     documents involving the same or similar subject matter.

               d.    Preservation of Data. The parties will make every reasonable effort

                     to preserve electronic data relevant to either party's claims or

                     defenses.




                                        7
Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 8 of 9 PageID #:256



                   e.     Additional Issues. At this time, the parties do not know of any

                          additional electronic discovery issues that may arise in this matter.

                          If additional issues arise not governed by this Plan, the parties

                          agree to work in good faith to resolve the matter before bringing

                          the issue to the Court's attention.

       E. Trial

              1. Plaintiff has requested a trial by jury.

              2. Plaintiff anticipates a trial to last 1-2 days.

III. Consent to Proceed Before a Magistrate Judge

       A. The parties do unanimously consent to proceed before a magistrate judge for all

           purposes at this time.

IV. Status of Settlement Discussions

       A. Plaintiff has made a settlement demand on Defendant that Defendant has rejected.

           Plaintiff resubmitted a demand that Defendant is taking into consideration

           following the filing of her Motion for Leave to file her Second Amended

           Complaint.

       B. Plaintiff would be agreeable to conducting a settlement conference before the

           Magistrate Judge assigned to the case.


Dated: 4/30/2018




                                             8
     Case: 1:18-cv-01365 Document #: 16 Filed: 04/30/18 Page 9 of 9 PageID #:257



        One of the Attorneys for Plaintiff                    Counsel for Defendant

        s/ Robert J. Tomei Jr.                                s/ Charles G. McCarthy Jr.
        Robert J. Tomei Jr.,                                   Charles G. McCarthy, Jr.
        TOMEI LAW, P.C.                                        Charles G. McCarthy, Jr. and Associates
        223 N IL Rt. 21, Suite 14                              707 North East Street,
        Gurnee, IL 60031                                       Suite Two
        Tele: (847) 596-7494                                   Bloomington, IL 61701
        Fax: (847) 589-2263                                    Telephone: 309-828-7000
        Email: Robert@tomeilawfirm.com                         Email: charlie@mccarthy.net
        Attorney for Plaintiff                                Attorney for Defendant


                                  CERTIFICATE OF SERVICE

          I, Robert J. Tomei Jr., an attorney, hereby certify that on April 30, 2018, I electronically
 filed the foregoing document using the CM/ECF system, which will send notification of such
 filing to all attorneys of record.

Dated: April 30, 2018                                                         Respectfully submitted,


                                                                       By:    /s/ Robert J. Tomei Jr.




                                                  9
